                                         Case 3:24-cv-06843-JD           Document 72        Filed 04/16/25    Page 1 of 2




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         EPIC GAMES, INC.,
                                   7                                                         Case No. 24-cv-06843-JD
                                                        Plaintiff,
                                   8
                                                 v.                                          SCHEDULING ORDER
                                   9
                                         SAMSUNG ELECTRONICS CO. LTD., et
                                  10     al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          The Court sets the following case management deadlines pursuant to Federal Rule of Civil

                                  14   Procedure 16 and Civil Local Rule 16-10. The parties are advised to review and comply with the

                                  15   Court’s Standing Order for Civil Cases, Standing Order for Discovery in Civil Cases, and

                                  16   Standing Order for Civil Jury Trials.

                                  17

                                  18                                    Event                                          Deadline
                                  19     Add parties or amend pleadings                                      May 30, 2025

                                  20     Hold first mediation session with private mediator                  June 4, 2025
                                  21     Fact discovery cut-off                                              December 12, 2025
                                  22     Expert disclosures                                                  December 19, 2025
                                  23
                                         Rebuttal expert disclosures                                         January 21, 2026
                                  24
                                         Expert discovery cut-off                                            February 13, 2026
                                  25
                                         Last day to file dispositive and Daubert motions                    February 26, 2026
                                  26
                                         Pretrial conference                                                 July 9, 2026 @1:30 p.m.
                                  27
                                         Jury Trial                                                          July 27, 2026 @9 a.m.
                                  28
                                         Case 3:24-cv-06843-JD          Document 72           Filed 04/16/25    Page 2 of 2




                                   1          All dates set by the Court should be regarded as firm. Counsel may not modify these dates

                                   2   by stipulation without leave of court. Requests for continuances are disfavored, and scheduling

                                   3   conflicts that are created subsequent to the date of this order by any party, counsel or party-

                                   4   controlled expert or witness will not be considered good cause for a continuance. Sanctions may

                                   5   issue for a failure to follow a scheduling or other pretrial order. See Fed. R. Civ. P. 16(f)(1)(C).

                                   6          IT IS SO ORDERED.

                                   7   Dated: April 16, 2025

                                   8

                                   9                                                    ______________________________________
                                                                                        JAMES DONATO
                                  10                                                    United States District Judge
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                                  12
Northern District of California
 United States District Court




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